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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                         SAN ANTONIO DIVISION

TIMOTHY WILSON,                        §
Plaintiff                              §
                                       §     CIVIL ACTION NO. 5:10-cv-828
vs.                                    §
                                       §     Jury Trial Demanded
TOLTECA ENTERPRISES, INC.              §
DBA PHOENIX RECOVERY                   §
GROUP,                                 §
Defendant                              §


                            ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

                                 NATURE OF ACTION

      1.      This is an action for damages brought by an individual plaintiff for

Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692,

et seq. (hereinafter “FDCPA”), the Texas Debt Collection Practices Act, Chapter

392 (hereinafter “TDCPA”) and the Texas Business and Commerce Code,

Subchapter E, Chapter 17, (hereinafter “DTPA”), which prohibit debt collectors

from engaging in abusive, deceptive, and unfair practices.

      2.      Plaintiff seeks to recover monetary damages for Defendant’s violation

of the FDCPA, the TDCPA and the DTPA, and to have an Order or injunction

issued by this Court preventing Defendants from continuing its violative behaviors.
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       3.      Service may be made upon Defendant in any other district in which it

may be found pursuant to 29 U.S.C. §1132(e)(2).

                             JURISDICTION AND VENUE

       4.      Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), 28

U.S.C. § 1331, and 28 U.S.C. § 1337.

       5.      Venue is proper before this Court pursuant to 28 U.S.C. §1391(b),

where the acts and transactions giving rise to Plaintiff’s action occurred in this

district, where Plaintiff resides in this district, and/or where Defendant transacts

business in this district.

                                      PARTIES

       6.      Plaintiff, Timothy Wilson (“Plaintiff”), is a natural person residing in

Bexar County.

       7.      Plaintiff is a consumer as defined by the FDCPA, 15 U.S.C. §

1692a(3) and the Texas Business and Commerce Code section §17.50(a)(1) and

Texas Finance Code §392.001(1).

       8.      Defendant, Tolteca Enterprises, Inc. dba Phoenix Recovery Group

(“Defendant”) is an entity who at all relevant times was engaged, by use of the

mails and telephone, in the business of attempting to collect a “debt” from

Plaintiff, as defined by 15 U.S.C. §1692a(5) and by Tex. Fin. Code Ann. §

392.001(6).
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      9.      Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6)

and by Tex. Fin. Code Ann. § 392.001(2).

                            FACTUAL ALLEGATIONS

      10.     Plaintiff is a natural person obligated, or allegedly obligated, to pay a

debt owed or due, or asserted to be owed or due a creditor other than Defendant.

      11.     Plaintiff's obligation, or alleged obligation, owed or due, or asserted to

be owed or due a creditor other than Defendant, arises from a transaction in which

the money, property, insurance, or services that are the subject of the transaction

were incurred primarily for personal, family, or household purposes and Plaintiff

incurred the obligation, or alleged obligation, owed or due, or asserted to be owed

or due a creditor other than Defendant.

      12.     Defendant uses instrumentalities of interstate commerce or the mails

in a business the principal purpose of which is the collection of any debts, and/or

regularly collects or attempts to collect, directly or indirectly, debts owed or due,

or asserted to be owed or due another.

      13.     Defendant repeatedly contacted Plaintiff at his place of employment

after being informed that such calls are inconvenient to Plaintiff and violate the

policy of Plaintiff’s employer, including Defendant’s collection agents continuing

to contact Plaintiff at his place of employment up to and including June 15, 2010,
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following Defendant’s receipt of the Plaintiff’s May 12, 2010 correspondence

demanding that Plaintiff not be contact at work.

      14.    Plaintiff’s May 12, 2010 letter resulted from the Defendant’s May 11,

2010 collection call requiring Plaintiff to be called out of meeting at work to take

the phone call (§ 1692c(a)(1)(3)).

      15.    Defendant attempted to collect or collected an amount from Plaintiff

that is not expressly authorized by the agreement creating the debt, to wit:

Defendant charged an additional $50.00 collection fee to a purported $79.00 debt,

insisting to Plaintiff that the same is expressly provided for by the lease agreement

forming the basis of the alleged debt.

      16.    In fact, when Plaintiff demanded proof of the alleged debt and the

attendant $50.00 fee, Defendant’s collection agent stated that the creditor’s 2007

lease provided for the charge, but no relevant documents were provided. Instead,

Defendant provided Plaintiff with a copy of a “sample” 2009 lease, unsigned by

the Plaintiff, which also did not provide for said charges (§ 1692f(1)).

      17.    Defendant used false representations and deceptive practices in

connection with collection of an alleged debt from Plaintiff, including Defendant

falsely representing to Plaintiff that the underlying lease agreement forming the

basis of the alleged debt specifically providing for a $50.00 penalty when it does

not (§ 1692e(10)).
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      18.    Defendant communicated or threatened to communicate credit

information which is known or which should be known to be false, including

Defendant’s collectors threatening to report a disputed amount to credit agencies

when Defendant did not have a right to continue to collect on the alleged account

when they had not provided proper validation of the alleged debt.

      19.    As a result of Defendant’s improper threat, Plaintiff paid the disputed

amount to avoid the negative consequences of the Defendant’s threat (§ 1692e(8)).

      20.    Defendant failed to provide Plaintiff with the notices required by 15

USC § 1692g, either in the initial communication with Plaintiff, or in writing

within 5 days thereof, including Defendant’s failure to provide any written

correspondence to Plaintiff informing him of his right to dispute the alleged debt or

any part thereof until at least two (2) months following the Defendant’s initial

collection call (§ 1692g(a)).

      21.    Defendant used false representations and deceptive practices in

connection with collection of an alleged debt from Plaintiff, including Defendant’s

collector stating to Plaintiff that the reason he was never sent an initial collection

letter advising of his rights to dispute the debt was “because [Plaintiff] was

represented by an attorney when he was not (§ 1692e(10)).

      22.    Defendant’s actions constitute conduct highly offensive to a

reasonable person, and as a result of Defendant’s behavior Plaintiff suffered and
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continues to suffer injury to Plaintiff’s feelings, personal humiliation,

embarrassment, mental aguish and/or emotional distress.

      23.      As a result of the above violations of the FDCPA, Plaintiff suffered

and continues to suffer personal humiliation, embarrassment, mental anguish and

emotional distress, and Defendants are liable to Plaintiff for Plaintiff’s actual

damages, statutory damages, and costs and attorney’s fees.

                                 COUNT I--FDCPA

      24.      Plaintiff repeats and re-alleges each and every allegation contained

above.

      25.      Defendant’s aforementioned conduct violated the FDCPA.

      WHEREFORE, Plaintiff prays for relief and judgment, as follows:

            a) Adjudging that Defendant violated the FDCPA;

            b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

               in the amount of $1,000.00;

            c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

            d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

               this action;

            e) Awarding Plaintiff any pre-judgment and post-judgment interest as

               may be allowed under the law;
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      f) Awarding such other and further relief as the Court may deem just and

         proper.



                             COUNT II--TDCPA

26.      Plaintiff repeats and re-alleges each and every allegation above.

27.      Defendant violated the Texas Debt Collection Practices Act in one or

more of the following ways:

      a. Collecting or attempting to collect interest or a charge, fee, or expense

         incidental to the obligation, where the interest or incidental charge,

         fee, or expense was not expressly authorized by the agreement

         creating the obligation or legally chargeable to Plaintiff (Tex Fin Code

         § 392.303(a)(2));

      b. Misrepresenting the character, extent, or amount of a consumer debt,

         or misrepresenting the consumer debt's status in a judicial or

         governmental proceeding (Tex Fin Code § 392.304(a)(8));

      c. Using false representations or deceptive means to collect a debt or

         obtain information concerning a consumer, including (Tex Fin Code §

         392.304(a)(19)).

WHEREFORE, Plaintiff prays for relief and judgment, as follows:

      a) Adjudging that Defendant violated the TDCPA;
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            b) Awarding Plaintiff statutory damages pursuant to the TDCPA;

            c) Awarding Plaintiff actual damages pursuant to the TDCPA;

            d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

               this action;

            e) Awarding Plaintiff any pre-judgment and post-judgment interest as

               may be allowed under the law;

            f) Awarding such other and further relief as the Court may deem just and

               proper.

                                    COUNT III—DTPA

      28.      Plaintiff reincorporates by reference herein all prior paragraphs above.

      29.      This suit is brought, in part, under the authority of Tex. Bus. & Com.

Code § 17.41 et seq., commonly known as the Deceptive Trade Practices and

Plaintiff Protection Act and cited in this petition as the “DTPA”.

      30.      Defendant was given notice in writing of the claims made in this

Petition more than sixty days before this suit was filed in the manner and form

required by DTPA §17.505 (a).

      31.      Defendant made numerous material misrepresentations in an attempt

to collect the purported consumer debt as detailed above.

      32.      Defendant knew or should have known that its representations were

false and/or acted in reckless disregard for the truth or falsity of its representations.
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        33.   Defendant’s actions were done maliciously and in willful, wanton and

reckless disregard for the rights of the Plaintiff.

        34.   Defendant’s actions as detailed above constitute a violation of the

Texas Deceptive Trade Practices Act, Tex. Bus. & Com. Code § 17.41.

        35.   The conduct described above has been and is a producing and

proximate cause of damages to Plaintiff. Plaintiff’s damages include: Statutory

damages of at least $100.00 per violation, actual/economic damages, emotional

and/or mental anguish damages, exemplary/punitive damages, and Plaintiff’s

attorneys’ fees and costs.

        36.   Additionally, Plaintiff seeks an award of discretionary additional

damages in an amount not to exceed three times the amount of economic damages

if Defendant’s conduct is found to have been committed knowingly; or an amount

not to exceed three times the amount of economic and mental anguish damages if

Defendants’ conduct is found to have been committed intentionally.

        37.   Plaintiff seeks reasonable and necessary attorney’s fees in this case

through the time judgment is entered and for any post-trial or post-judgment

appeals, to be detailed through a statement of services submitted at the appropriate

time.

        WHEREFORE, Plaintiff prays for relief and judgment as follows:
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(a)   a declaratory judgment be entered that Defendant’s conduct violated

the DTPA;

(b)   an    award     for      all   actual   damages,   exemplary     damages,

emotional/mental anguish damages and all statutory additional damages, all

attorneys fees, costs of court, and pre-judgment and post-judgment interest

at the highest lawful rates.

(c)   an award of discretionary additional damages in an amount not to

exceed three times the amount of economic damages if Defendant’s conduct

is found to have been committed knowingly; or an amount not to exceed

three times the amount of economic and mental anguish damages if

Defendant’s conduct is found to have been committed intentionally.

(d)   such other and further relief as may be just and proper.

                            TRIAL BY JURY

38.   Plaintiff is entitled to and hereby demands a trial by jury.


                                          Respectfully submitted,


                                          By: /s/ Dennis R. Kurz
                                          Dennis R. Kurz
                                          Texas State Bar # 24068183
                                          Attorney in Charge for Plaintiff
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                         CERTIFICATE OF SERVICE

I certify that on October 12th, 2010, I electronically filed the foregoing document
with the clerk of the U.S. District Court, Western District of Texas, San Antonio
Division, using the electronic case filing system of the court.


                                                          /s/ Dennis R. Kurz
                                                          Dennis R. Kurz
